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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-1603V
                                      Filed: July 22, 2019
                                        UNPUBLISHED


    SANDRA SUNDLOV,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU); Joint
                                                             Stipulation on Damages; Influenza
    SECRETARY OF HEALTH                                      (Flu) Vaccine; Shoulder Injury
    AND HUMAN SERVICES,                                      Related to Vaccine Administration
                                                             (SIRVA)
                       Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Robert Paul Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

         On October 25, 2017, Sandra Sundlov (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury related to vaccine administration (“SIRVA”) as a result of receiving an influenza
(“flu”) vaccine on October 10, 2016. Petition at 1; Stipulation, filed July 22, 2019, at ¶¶
2, 4. Petitioner further alleges that she experienced the residual effects of her injury for
more than six months. Petition at 2; Stipulation at ¶ 4. “Respondent denies that
petitioner sustained a Table SIRVA injury, and denies that the influenza vaccine caused
petitioner to suffer from a shoulder injury or any other injury.” Stipulation at ¶ 6.



1
  The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on July 22, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $32,000.00, in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                               )
SANDRA SUNDLOV,                                )
                                               )
               Petitioner,                     )
                                               )     No. 17-1603V (ECF)
V.                                             )     Chief Special Master Dorsey
                                               )
SECRETARY OF HEALTH                            )
AND HUMAN SERVICES,                            )
                                               )
               Respondent.                     )


                                            STIPULATION

       The parties hereby stipulate to the following matters:

       1. Sandra Sundlov ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42

C.F.R. § 100.3(a).

       2. Petitioner received the influenza vaccine on or about October 10, 2016.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered a shoulder injury related to vaccine administration

("SIRVA") as a result of receiving an influenza vaccine, and experienced the residual effects of

her injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
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        6. Respondent denies that petitioner sustained a Table SIRVA injury, and denies that the

influenza vaccine caused petitioner to suffer from a shoulder injury or any other injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed both a proper and timely election to

receive compensation pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and

Human Services will issue the following vaccine compensation payment:

        A lump sum of $32,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C. §
        300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings before

the Chief Special Master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        10. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et. Seq.)), or entities that provide health services on a pre-paid basis.




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        11. Payment made pursuant to paragraph 8 of this Stipulation, and any amount awarded

pursuant to paragraph 9, will be made in accordance with 42 U.S.C. § 300aa-15(i), subject to the

availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payment described in paragraph 8, and any amount awarded

pursuant to paragraph 9, petitioner, in her individual capacity, and on behalf of her heirs,

executors, administrators, successors, and/or assigns, does forever irrevocably and

unconditionally release, acquit and discharge the United States and the Secretary of Health and

Human Services from any and all actions or causes of action (including agreements, judgments,

claims, damages, loss of services, expenses and all demands of whatever kind or nature) that

have been brought, could have been brought, or could be timely brought in the United States

Comt of Federal Claims, under the National Vaccine Injury Compensation Program, 42 U.S.C.

§ 300aa-10 et seq., on account of, or in any way growing out of, any and all known or unknown,

suspected or unsuspected personal injuries to or death of petitioner resulting from, or alleged to

have resulted from, the influenza vaccine administered on or about October 10, 2016, as alleged

by petitioner in a petition for vaccine compensation filed on or about October 25, 2017, in the

United States Court of Federal Claims as petition No. 17-1603V.

       14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.



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        15. If the Chief Special Master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the United States Court of Federal Claims fails to enter judgment in

conformity with a decision that is in complete conformity with the terms of this Stipulation, then

the parties' settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the influenza vaccine caused petitioner to suffer a

shoulder injury or any other injury.

       18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                       END OF STIPULATION




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Respectfully submitted,

PETITIONER:


~Vku_.M&i~
ANDRA SUNDLOV

ATTORNEY OF RECORD FOR                            AUTHORIZED REPRESENTATIVE
PETIT ONER:                                       OF THE ATTORNEY GENERAL:



,v,11~1"v,ILLIAN J. MULLER
      LER BRAZIL, LLP
715 Twining Road
                                                  ~RE~~
                                                  Deputy Director
                                                  Torts Branch
Suite 208                                         Civil Division
Dresher, PA 19025                                 U.S. Depaitment of Justice
                                                  P.O. Box 146
                                                  Benjamin Franklin Station
                                                  Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                         ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                        RESPONDENT:
AND HUMAN SERVICES:



TAMARA OVERBY                                     R ~
Acting Director, Division of Vaccine              Trial Attorney
Injury Compensation (DVIC), Acting Director       To1ts Branch
Countermeasures Injury Compensation               Civil Division
Program (CICP)                                    U.S. Department of Justice
Healthcare Systems Bureau, U.S. Department        P.O. Box 146
Of Health and Human Services                      Benjamin Franklin Station
5600 Fishers Lane                                 Washington, DC 20044-0146
Parklawn Building, Mail Stop 11 C-26              (202) 305-0274
Rockville, MD 20857




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